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                                  8                                     United States District Court
                                                                        Central District of California
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                                          THAIEESHA SANDERS,
Central District of California
United States District Court




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                                                           Plaintiff,
                                 12                                                   Case No. 2:20-cv-07468-VAP-Ex
                                                      v.
                                 13       SAM'S WEST INC., et al.,                    ORDER OF DISMISSAL
                                 14
                                                           Defendants.
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                                              The Court having been advised by counsel for the parties that the above-
                                 17
                                      entitled action has settled,
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                                 19         IT IS ORDERED that this action be, and hereby is, dismissed in its entirety
                                      without prejudice.
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                                 21         THE COURT will retain jurisdiction for a period of sixty (60) days to
                                 22
                                      enforce the terms of the settlement. All pending dates are hereby vacated.

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                                      Dated: September 28, 2021
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                                                                                       VIRGINIA A. PHILLIPS
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                                                                                       United States District Judge

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